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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


    ANGELA DRAGHICESCU,

                          Plaintiff,

                  v.                                         CIVIL ACTION NO.:

    UNIVERSITY OF DELAWARE,

                          Defendant.


         DEFENDANT UNIVERSITY OF DELAWARE’S NOTICE OF REMOVAL

         Defendant University of Delaware (the “University”), by and through its undersigned

counsel, hereby files this Notice of Removal pursuant to 28 U.S.C. §§ 1331, 1441, 1446. The

grounds for removal are as follows:

         1.      Plaintiff Angela Draghicescu (“Plaintiff”) commenced this action against the

University by filing a complaint in the Superior Court of the State of Delaware asserting state

law claims under the Delaware Wage Payment and Collection Act, 19 Del. C. § 1101 et seq. and

breach of contract. The Superior Court case is captioned Angela Draghicescu v. University of

Delaware, case number N24C-01-070-VLM (the “Delaware Action”).

         2.      On January 14, 2025, Plaintiff filed an Amended Complaint in the Delaware

Action asserting claims under both state and federal laws. This Notice of Removal is accordingly

timely pursuant to 28 U.S.C. § 1446(b)(3). 1 A copy of the Amended Complaint is attached hereto



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    The text of 28 U.S.C. § 1446(b)(3) is as follows:

         [e]xcept as provided in subsection (c), if the case stated by the initial pleading is
         not removable, a notice of removal may be filed within thirty days after receipt by
         the defendant, through service or otherwise, of a copy of an amended pleading,
         motion, order or other paper from which it may first be ascertained that the case
         is one which is or has become removable.
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as “Exhibit A.”

         3.     Plaintiff’s Amended Complaint asserts the following additional claims: (1)

Disability Discrimination pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12101 et

seq.; (2) Disability Discrimination pursuant to the Delaware Persons with Disabilities

Employment Protections Act, Del. Code Ann. tit. 19, § 720 et seq.; (3) Retaliation in violation of

the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.; (4) Retaliation pursuant to the

Delaware Persons with Disabilities Employment Protections Act, Del. Code Ann. tit. 19, § 720

et seq.; (5) Discrimination on the basis of gender pursuant to Title VII of the Civil Rights Act of

1964, 42 U.S.C. § 2000e-2 et seq.; (6) Discrimination on the basis of gender in violation of the

Delaware Discrimination in Employment Act, Del. Code Ann. tit. 19, § 710 et seq.; (7)

Retaliation in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2 et seq.;

and (8) Retaliation in violation of the Delaware Discrimination in Employment Act, Del. Code

Ann. tit. 19, § 710 et seq.

         4.     Pursuant to 28 U.S.C. § 1331, “[t]he district courts shall have original jurisdiction

of all civil actions arising under the Constitution, laws, or treaties of the United States.”

         5.     To that end, “[t]he presence or absence of federal-question jurisdiction is

governed by the ‘well-pleaded complaint rule,’ which provides that federal question jurisdiction

exists only when a federal question is presented on the face of the plaintiff’s properly pleaded

complaint.” Rossdeutscher v. Viacom, Inc., 768 A.2d 8, 19 (Del. 2001), as revised (Apr. 2, 2001).

         6.     Further, “[a]s the removing party asserting federal jurisdiction, the defendant

bears the burden of proving that the action is properly before the district court.” Tuckey v.

Intermatic, Inc., No. 13-cv-02096, 2014 WL 281692, at *1 (M.D. Pa. Jan. 24, 2014).

         7.     Counts Three (3) and Five (5) of Plaintiff’s Amended Complaint assert claims

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.

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         8.    Counts Seven (7) and (9) of Plaintiff’s Amended Complaint assert claims pursuant

to Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2 et seq.

         9.    Accordingly, because Plaintiff raises four new, federal claims in her Amended

Complaint, this action is properly removed to the United States District Court for the District of

Delaware pursuant to 28 U.S.C. §§ 1331 and 1441(a) and (c).

         10.   With respect to the state law claims asserted against the University, this Court has

supplemental jurisdiction over such claims under 28 U.S.C. § 1367.

    WHEREFORE, pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, the University respectfully

removes this civil action from the Superior Court of the State of Delaware to the United States

District Court for the District of Delaware.

                                               SAUL EWING LLP

                                               /s/James D. Taylor
                                               James D. Taylor, Jr. (# 4009)
                                               Marisa R. De Feo
                                               1201 N. Market Street, 23rd Floor
                                               Wilmington, DE 19801
                                               Telephone: (302) 421-6800
                                               Facsimile: (302) 421-6813
                                               james.taylor@saul.com
                                               marisa.defeo@saul.com
                                               Counsel for the University of Delaware


                                               Dated: January 24, 2025




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                                CERTIFICATE OF SERVICE

I, James D. Taylor, Jr., do hereby certify that on this 24th day of January 2025, I cause to
be served the Notice of Filing of Notice of Removal as follows:

                                   VIA ELECTRONIC MAIL

                                   Lauren P. DeLuca (#6024)
                                    Connolly Gallagher LLP
                               1201 N. Market Street, 20th Floor
                                  Wilmington, Delaware 19801
                                ldeluca@connollygallagher.com


                                              /s/James D. Taylor
                                              James D. Taylor, Jr. (# 4009)




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